               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et. al.,              : No: 4:20-CV-02078-MWB
                                       :
            Plaintiffs                 :
      v.                               :
                                       :
KATHY BOOCKVAR, et. al.,               :
                                       :
            Defendants                 :


                 IN THE MATTER OF APPLICATION FOR
                PRO HAC VICE ADMISSION TO PRACTICE
                           IN THIS COURT

                PETITION OF RUDOLPH WILLIAM GIULIANI

      I, Rudolph William Giuliani, hereby petition the United States District

 Court for the Middle District of Pennsylvania to admit me to practice before that

 Court. In support of my petition, I state as follows:

      My office address is:

      445 Park Ave FL 18
      New York, NY 10022-2606


Office Telephone: (212) 931-7301.

I was admitted to practice before the Courts listed below on the date shown after

the name of each Court, and I am currently a member in good standing of all those

Courts.


                                         1
     All courts of the State of New York (admitted 6/25/1969).

     United States Supreme Court

     District of Columbia Bar

     United States Court of Appeals for the Second Circuit

     United States District Court for the Southern District of New York



     My attorney Identification number is: 1080498 (NY).

_________________________________________________________________

FOR COURT USE ONLY

_____ GENERAL ADMISSION:

GRANTED BY THE COURT: ______________________ Date: _____________
 X SPECIAL ADMISSION:
_____
                           s/ Matthew W. Brann
GRANTED BY THE COURT _______________________                  11/17/2020
                                                       Date: _____________
                          United States District Judge
__________________________________________________________________




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